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            EXHIBIT 26
Redacted Version of Document Sought
            to be Sealed
                   Case 4:20-cv-05146-YGR                             Document 808-12                       Filed 08/03/22                Page 2 of 3




From:                         Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Sent:                         Wednesday, January 5, 2022 4:38 PM
To:                           Tracy Gao; Josef Ansorge
Cc:                           Jay Barnes; Douglas Brush; Lesley Weaver; David Straite; Amy Keller; Adam Prom; Angelica Ornelas;
                              An Truong; Eric Johnson; Sharon Cruz; QE Calhoun
Subject:                      Re: Plaintiffs Request for Zwieback         and Zwieback    Fields and Schema
Attachments:                  2021.01.05 - Calhoun Plaintiff Letter to Brush re Zwieback Data Sources.pdf



EXTERNAL: Think before you click!
Ms. Gao, Mr. Ansorge, et al.,

Pursuant to Section 4, Number 4 of Exhibit 1 of Magistrate Judge van Keulen’s November 12, 2021, order Special Master
Brush is ordering that the Zwieback        and Zwieback      data sources are to be added to the potentially relevant set
of data sources for the Calhoun matter.

As such, Plaintiffs have requested Google provide certain information about those data sources as outlined in the
attached letter of January 4, 2022. The information you provide should include all field names, field descriptions for all
field names, and schemas for the data sources.

Please provide the requested information within three business days (i.e., by close of business EST January 10, 2022).

Thank you,
Tim Schmidt

Timothy Schmidt
Consultant
M 202.577.5302
E timothy.schmidt@accelconsulting.llc

Accel Consulting LLC
BOULDER, CO 80301

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email and delete this message.




           From: Jay Barnes <jaybarnes@simmonsfirm.com>
           Date: Wednesday, January 5, 2022 at 12:52 AM
           To: Douglas Brush <douglas.brush@accelconsulting.llc>, Timothy Schmidt
           <timothy.schmidt@accelconsulting.llc>, Lesley Weaver <lweaver@bfalaw.com>, David Straite
           <dstraite@dicellolevitt.com>, Amy Keller <akeller@dicellolevitt.com>, Adam Prom
           <aprom@dicellolevitt.com>, Angelica Ornelas <aornelas@bfalaw.com>, An Truong
           <atruong@simmonsfirm.com>, Eric Johnson <ejohnson@simmonsfirm.com>, Sharon Cruz
           <scruz@dicellolevitt.com>
           Subject: Plaintiffs Request for Zwieback       and Zwieback      Fields and Schema

           Special Master Brush and Mr. Schmidt:


                                                                                        1
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Thank you for the call today. As discussed, please find attached correspondence containing a written request for
Google to produce fields and schema information for Zwieback            and Zwieback    Per your request, we
have also uploaded relevant documents to Box.com for your review.

Sincerely,
Jay Barnes




Jay Barnes
One Court Street, Alton, IL 62002
Ph: 618.259.2222
jaybarnes@simmonsfirm.com

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